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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS

                                     SAN ANTONIO DIVISION


 LOGAN PAUL,

                                  Plaintiff,
           v.
                                                            Civil Action No. 5:24-cv-00717
 STEPHEN FINDEISEN AND COFFEE BREAK
 PRODUCTIONS LLC D/B/A COFFEEZILLA,

                                  Defendants.


                PLAINTIFF’S THIRD MOTION TO PRESERVE CONFIDENTIALITY
                                    DESIGNATIONS

           Pursuant to Paragraph 11(a) of the November 15, 2024 Confidentiality and Protective

Order (“Protective Order”) [Dkt. 22] entered in the above-referenced action, Plaintiff Logan Paul

moves this Court for an order preserving his designation of certain discovery materials as

“Confidential”:

           1.      On November 14, 2024, the Parties filed a Joint Motion for Entry of Protective

Order [Dkt. 21]. As that Joint Motion reflects, the parties agreed to, and jointly asked the Court

to enter, the proposed protective order attached to that Joint Motion.

           2.      On November 15, 2024, the Court entered the Protective Order as requested by the

Parties.

           3.      The Protective Order permits the Parties to designate certain materials exchanged

in discovery as “Confidential” if the designating party in good faith believes that the information

therein is in fact confidential. (Protective Order ¶ 1.) The Protective Order sets forth a non-

exhaustive list of materials that qualify for confidential treatment, including confidential

information, information protected by law, and other sensitive information. (Id. ¶ 3(a).)


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       4.      Pursuant to the Protective Order, Plaintiff has designated as “Confidential” three

documents he produced in discovery that are the subject of this Motion.

       5.      The first, identified with the bates label PAUL_CZ00012023-12024, is a




                                                                                     was filed under

seal by Defendants as Exhibit A to their Motion to Transfer and Stay Proceedings [Dkt. 82-1]. A

copy is attached hereto as Exhibit A.

       6.      The second, identified with the bates label PAUL_CZ00012016-12022, is an




The document was filed under seal by Defendants as Exhibit B to their April 15, 2025 Motion to

Transfer and Stay Proceedings [Dkt. 82-2]. A copy is attached hereto as Exhibit B.

       7.      The third, identified with the bates label PAUL_CZ00012025-12042, is a



                                                                                      was filed under

seal by Defendants as Exhibit C to their Motion to Transfer and Stay Proceedings [Dkt. 82-3]. A

copy is attached hereto as Exhibit C.

       8.      These materials are properly designated as “Confidential” under the Protective

Order and are of the types of materials that qualify for confidential treatment and filing under seal.




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For example, the




                            .

       9.      Moreover, the context here further militates in favor of these documents continuing

to be treated as confidential and maintained under seal. It is anticipated that Defendants will argue

that these materials, by virtue of having been filed by Defendants in connection with their recent

Motion to Stay or Transfer Proceedings, are now judicial records that should be unsealed due to

the presumption of public right of access to court records. But the Fifth Circuit and the Supreme

Court have recognized that this right of access must be balanced against other competing interests

in a case-by-case analysis, and that sealing may be particularly warranted where court files have




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become “a vehicle for improper purpose.” S.E.C. v. Van Waeyenberghe, 990 F.2d 845, 848 (5th

Cir. 1993) (quoting Nixon v. Warner Comm’s, Inc., 435 U.S. 589, 598 (1978).

          10.    That is precisely the case here. Although the

                                   were attached as exhibits to Defendants’ recent motion, it is

apparent that those materials have no relevance to the motion or Defendants’ arguments, and

instead were almost certainly filed for the sole and improper purpose of providing Defendants with

an excuse to advocate for their public disclosure in order to harm and embarrass Plaintiff. Indeed,

the argument that Defendants advance in that motion is that the case should be stayed or transferred

due to the pendency of a related civil suit. The                                              has no

relevance at all to Defendants’ legal argument, and it is conspicuous that neither the



generally, are ever referred to throughout the argument section of Defendants’ motion. (See Dkt.

82 at 14-19.)




            , it is apparent that Defendants’ motivating purpose for introducing these materials into

the judicial record was to cause harm and prejudice to Plaintiff

                                                           .

          11.    Accordingly, pursuant to Paragraph 11(a) of the Protective Order, Plaintiff requests

an order confirming and preserving Plaintiff’s confidentiality designations as to the

           (PAUL_CZ00012016-12022), the                               (PAUL_CZ00012023-12024),

and the                  (PAUL_CZ00012025-12042).




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                                         CONCLUSION

       Plaintiff requests that the Court grant this Motion and order that Plaintiff’s confidentiality

designations as to the materials at issue be preserved.


April 28, 2025                                /s Andrew C. Phillips
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                                CERTIFICATE OF SERVICE

       I hereby certify that, on April 28, 2025, I electronically filed the foregoing with the Clerk

of Court using the CM/ECF system which will send notification of such filing to all counsel of

record who are deemed to have consented to electronic service.

                                                     /s Andrew C. Phillips




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